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Exhibit A
 

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Supreme CoustofPennsylvania 4 i
Cour‘ (ot Coinmon Pleas For Prothonotary Use Only:
Gi care ce Docket No:

 

 

 

 

 

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The information collected an. this form is used solely for court adininistvation purposes, This forin does not
supplement or replace the filing and service of pleadings or other papers as required by law or rules of con't,

oe Commencement of Action:

 

 

 

Complaint DB Writ of Summons ©) Petition
Ej, Transfer from Another Jurisdiction (C] Declaration of Taking
; ‘ Lead Plaintiff's Name: : De
rt jain Bala lac Cope, Adminisiratrix of tha Estate are NSOUISTONS. ‘Luc tha AL). ACQUISITION CORP. tik/a
: ol Loratta Belac ALTHONE US HES. INC, tiva HOLLAND FURNACE

 

\ I; Are money damages requested? Kk) Yes [) No (check one) Gdoutside arbitration limits

 

 

 

Is this a Class Action Suit? [Yes [8 No Isthisan MDJ Appeal? 1 Yes No

Name of PlaintifvAppeltant’s Attomey:__Le@_ W. Davis, Esquire PA ID 77420
FE Check here if you have no attorney (are a Sclf-Represented [Pro Se} Litlgant)

 

 

" Natiiré of the Case: “Place an:*X".to the left of the ¢ ONE’ casé category’ ‘that most aceurately ‘describes your .. yas
ws a PRIMARY: CASE. ‘Ifyou are iyaklng more than one leape of pion, check the or one tt ® a

 

 

 

 

 

 

 

 

 

pees ys you, consider most important..°. s-FPE ve ‘
TORT (do nor include Mass Tori) _| |CONTRACT (do not include Judgments) | | CIVIL APPEALS
[)- Intentional €] Buyer Plaintiff Administrative Agencies
F] Malicious Prosecution (J Debt Collection: Credit Cord 2) Board of Assessment
(J Motor Vehicle : {-] Debt Collection: Other J Board of Elections
2] Nuisance Dept. of Transportation
(I) Premises Liability Statutory Appeal: Other
0 =a (does nat Inchide oO Employment Dispute:
r iscrunination
a a Defamation EJ Employment Dispute: Other [) Zoning Board
_—_—___ EF) Other:
a E] Other:

| MASS TORT

* Asbestos
E] Tobacco
| Toxic Tort - DES
in Tec Tort limp REAL PROPERTY - | [MISCELLANEOUS
! Other aste (2) Ejectment [J Common Law/Statutory Arbitration
at Eminent Domain/Condemnation [) Dectaratory Judgment

—_--:-:“™™™——[—[—_—_—_—_=_=_ Ground Rent Mandamus
rary: Hl Landlord/Tenant Dispute Non-Domestic Relations
EE Mortgage Foreclosure: Residential Restraining Order
rl PROFESSIONAL LIABLITY FE) Mortgage Foreclosure: Commercial 2 Quo Warranto
ava §F] Dental ) Partition EC) Replevin
5 Legal . 1 Quict Title EI Other:
E) Medical E] Other:
(F) Other Professional: :
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IN THE COURT OF COMMON PLEAS OF DAUPHIN COUNTY COUNTY, PA

Givi Action No. HIT aw DIGO AS

Faith Belac Cope, Administratrix of the Estate of
Loretta Belac,
Plaintiff

Vv

ALLL. ACQUISITIONS, LLC F/K/A A.LI. ACQUISITION CORP,
FIK/A ALTHONE INDUSTRIES, INC. F/K/A HOLLAND COMPLAINT IN CIVIL ACTION
FURNACE COMPANY

JURY TRIAL DEMANDED

 

S—'

A.O, SMITH CORPORATION IN ITS OWN RIGHT AND AS
SUCCESSOR-IN-INTEREST TO THE CLARK CONTROLLER
COMPANY AND A.O. SMITH CORPORATION

FILED ON BEHALF OF THE PLAINTIFF
COUNSEL OF RECORD FOR THIS PARTY:

Lee W. Davis, Esquire
PA |.D. # 77420

ABB, INC.

AFTOSA Law Offices Of Lee W. Davis, Esquire,

’ { 5239 Butler St, Ste 201
Pittsburgh, Pa 15201
412-781-0525

lee@leewdavis.com
AIR & LIQUID SYSTEMS CORPORATION AS SUCCESSOR

BY MERGER TO BUFFALO PUMPS, INC.

AMERICAN ART CLAY CO., INC.
AMERICAN TALC COMPANY
ANCHOR CERAMIC MOLD CO.

ARMSTRONG INTERNATIONAL, INC.

ASSOCIATED RUBBER, INC.

ATWOOD & MORRILL. A DIVISION OF WEJR POWER &
(NDUSTRIAL

AURORA PUMP COMPANY
Case 1:19-cv-00728-JMM Document 1-1

AVON PRODUCTS INC.

BARRETT'S MINERALS INC.

BASF CATALYSTS LLC AS SUCCESSOR IN INTEREST TO

EASTERN MAGNESIA TALC CO.

BEHA PROCESS CORPORATION

BELL AND GOSSETT COMPANY, NOW KNOWN AS ITT LLC,

FORMERLY KNOWN AS ITT CORPORATION

BENDIX CORP.

BIRO INC,

BORG-WARNER CORP.

GBS CORPORATION F/K/A VIACOM, INC., AS SUCCESSOR
BY MERGER TO CBS CORPORATION, F/KIA
WESTINGHOUSE ELECTRIC CORPORATION

CERAMIC SUPPLY INC.

CEATAINTEED CORPORATION

CHARLES B. CHAYSTAL CO. INC

CHATTEM, A SANOFI COMPANY, INDIVIDUALLY AND FOR
GOLD BOLD AND GOLD BOND ULTIMATE

CHAVANT, INC.

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Case 1:19-cv-00728-JMM Document 1-1

COLORAMICS, LLC, FICTIITIOUSLY KNOWN AS MAYCO

COLORS CONVENIENCE PRODUCTS INC.

COTY, INC.

COUNTRYSIDE HOME CENTER, INC.

CRANE COMPANY, INC.

CRAYOLA, LLC

CREATIVE HOBBIES, INC.

CROWN CORK & SEAL COMPANY, INC.

DAL-TILE CORPORATION, INDIVIDUALLY AND AS

SUCCESSOR TO AMERICAN OLEAN TILE COMPANY

DANA CLASSIC FRAGRANCES

DAP, INC

DECKER'S KORNER

DECO ART, INC.

DUNCAN ENTERPRISES

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4

ECLECTIC PRODUCTS, INC.

EVENHEAT KILN, INC.

FOSTER WHEELER, L.L.C., SURVIVOR TO A MERGER WITH
FOSTER WHEELER CORPORATION, FIK/A FOSTER
WHEELER CORPORATION

FREEPORT-MCMORAN INC. AS SUCCESSOR IN INTEREST
TO CYPRUS AMAX MINERALS COMPANY

GARE, INC.

GENERAL ELECTRIC COMPANY

GEOAGIA PACIFIC LLC F/K/A GEORGIA PACIFIC
CORPORATION

HONEYWELL INTERNATIONAL, INC. FIK/A ALLIEDSIGNAL
INC, FAK/A THE BENDIX CORPORATION

IMERYS TALC AMERIGA, INC. AND SUCCESSOR IN
eel TO LUZENAC AMERICA INC. AND WINDSOR

IMO INDUSTRIES, INC., F/K/A IMO DELAVAL, DELAVAL, INC,

FIK/A TRANSAMERICA DELAVAL, ING., F/K/A DELAVAL
TURBINE, INC., DEVALGO CORPORATION, AND AS
SUCCESSOR TO WARREN PUMPS, INC.

INGERSOLL-RAND COMPANY

JAFRA COSMETICS INTERNATIONAL

JOANN STORES, LLC.

JOHNSON & JOHNSON

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Case 1:19-cv-00728-JMM Document 1-1

KOBO PRODUCTS, INC

KOLMAR LABORATORIES, INC A/K/A KOLMAR LABS
GROUP, INC.

L&L KILN MANUFACTURING INC.

LAGUNA CLAY CO., INDIVIDUALLY AND FOR MILLER CLAY
COMPANY

LAKESHORE LEARNING MATERIALS FICTICOUSLY KNOWN
AS LAKESHORE EQUIPMENT COMPANY

LENNOX INDUSTRIES, INC.

METROPOLITAN LIFE INSURANCE COMPANY A/KIA .
METROPOLITAN INSURANCE COMPANY

MNcueeec: AS PARENT COMPANY OF WESTEX
MORNING STAR MOLDS

NOVEON HILTON DAVIS INC.

OLYMPIC KILNS

PARAGON INDUSTRIES, LP.

PFIZER INC. INDIVIDUALLY AND AS PARENT COMPANY OF

MINERAL TECHNOLOGIES CORP.

PLAIO ENTERPAISES, INC., INDIVIDUALLY AND FOR APPLE

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Case 1:19-cv-00728-JMM Documenti1-1 Filed 04/29/19

BARREL AND AS SUCCESSOR TO DELTA CREATIVE, INC.

POLYFORM PRODUCTS COMPANY, INC.

PPG ARCHITECTURAL FINISHES, INC.,AS SUCCESSOR-IN-
INTEREST TO AKZO NOBEL PAINTS LLC F/K/A THE
GLIDDEN COMPANY AND AS SUCCESSOR TO

PITTSBURGH PAINTS

PRESPERSE CORPORATION

RESCO PRODUCTS INC. AS PARENT COMPANY TO
PIEDMONT MINERALS CO. INC.

RILEY POWER, ING., F/K/A BABCOCK BORSIG POWER,
ING., FIK/A DB RILEY, INC., F/K/A RILEY STOKER
CORPORATION

SARGENT ART INC.

SEARS, ROEBUCK & CO.

SEATTLE POTTERY SUPPLY, INC.

SE CERAM Cees *®
SENSIENT TECHNOLOGIES CORPORATION

SHISEIDO AMERICAS CORPORATION

SHURTECH BRANDS, INDIVIDUALLY AND AS SUCCESSOR
IN INTEREST TO HENKEL CONSUMER ADHESIVES, INC.
FAK/A MANCO TAPE INC.

SIR RAMIC PORCELAIN, INC. A/K/A JEN-KEN KILNS

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SKUTT CERAMIC PRODUCTS, INC.
SOUTHERN TALC COMPANY
STANDARD CERAMIC SUPPLY COMPANY

SUGAR CREEK INDUSTRIES, INC. INDIVIDUALLY AND FOR
GOOD KILN

SUN CHEMICAL CORPORATION

THE DOW CHEMICAL COMPANY

THE EDWARD ORTON JR. CERAMIC FOUNDATION
THE HOLLAND MOLD SHOP .

THE MICHAELS COMPANIES, INC.

THE SHERWIN-WILLIAMS COMPANY INDIVIDUALLY AND AS
Soa TO DUTCH BOY GROUP AND MINWAX

TRANE U.S., FAK/A AMERICAN STANDARD, ING., ITS DIV. IN
OWN RIGHT

Me COSMETICS CORPORATION N/AK/A MIYOSHI AMERICA,

UNIMIN CORPORATION FKA UNIMIN TEXAS CO, LP FKA
UNITEO CLAYS OF TEXAS

UNIROYAL, INC,, ALSO KNOWN AS UNIROYAL GOODRICH
TIRE COMPANY

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UTRECHT ART SUPPLIES

VAN AKEN INTERNATIONAL

VANDERBILT MINERALS, LLC F/K/A A.T. VANDERBILT CO.,
INC.AS SUCCESSOR IN INTEREST TO GOUVERNEUR TALC
CO, AND STANDARD MINERALS Co., INC,

VERMONT TALC, INC.

WEAVER'S CERAMIC MOLD, INC.

WEIL-MCLAIN COMPANY, INC.

WHITAKER CLARK & DANIELS, INC.

Defendants

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IN THE COURT OF COMMON PLEAS OF DAUPHIN COUNTY COUNTY, PA
Faith Belac Cope, Administratrix of the Estate of

Loretta Belac 7
Plaintiff, i,

Vv

A.l.l. ACQUISITIONS, LLC F/K/A A.1.1. 7 i
ACQUISITION CORP. F/K/A_ALTHONE ¢
INDUSTRIES, INC. F/K/A HOLLAND a+ GD
FURNACE COMPANY, ET AL.

Defendants

NOTICE
You have been sued in court. If you wish to defend against the claims set forth in
the following pages, you must take action within twenty (20) days after this
complaint and notice are served, by entering a written appearance personally or
by attorney and filing in writing with the court your defenses or objections to the
claims set forth against you. You are warned that if you fait to do so the case may
proceed without you and a judgment may be entered against you by the court
without further notice for any money claimed in the complaint or for any claim or
relief requested by the plaintiff. You may lose money or property or other rights

important to you.

IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE ABLE
TO PROVIDE YOU WITH INFORMATION ON AGENCIES THAT MAY OFFER
LEGAL SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE.

DAUPHIN COUNTY LAWYER REFEARAL SERVICE
213 North Front Street
Harrisburg, PA 17101
(717) 232-7536
atm em ee

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COMPLAINT IN CIVIL ACTION
4. The Plaintiff Faith Belac Cope, Administratrix of the Estate of Loretta Belac,
and the Plaintiff-Decedent Loretta Belac formerly residing at 122 7th
Street, Quakertowntown, PA.

2. The Defendants:

A.\.l, ACQUISITIONS, LLC F/K/A A.LI. ACQUISITION CORP. F/K/A ALTHONE
INDUSTRIES, INC. F/K/A HOLLAND FURNACE COMPANY is a corporation
incorporated under the taws of the Commonwealth of Pennsylvania, with its
principal place of business in the Commonwealth of Pennsylvania.

A.O. SMITH CORPORATION IN ITS OWN RIGHT AND AS SUCCESSOR-IN-
INTEREST TO THE CLARK CONTROLLER COMPANY AND A.O. SMITH
CORPORATION Is a corporation incorporated under the laws of the State of
Delaware, with its principal place of business in the State of Ohio.

ABB, INC. is a corporation incorporated under the laws of the Commonwealth of
Pennsylvania, with its principal place of business in the Commonwealth of
Pennsylvania.

AFTOSA is a corporation incorporated under the laws of the State of California,
with its principal place of business in the State of California.

AIR & LIQUID SYSTEMS CORPORATION AS SUCCESSOR BY MERGER TO
BUFFALO PUMPS, ING. is a corporation incorporated under the laws of the
State of Delaware, with Its principal place of business in the State of New York.

AMERICAN ART CLAY CO., INC. is a corporation incorporated under the laws of
the State of Indiana, with Its princlpal place of business in the State of Indiana.

AMERICAN TALC COMPANY is a corporation Incorporated under the laws of the
State of Texas, with its principal place of business In the State of Texas.

ANCHOR CERAMIC MOLD CO. is a corporation incorporated under the laws of
ihe State of Ohio, with its principal place of business in the State of Ohio.
Case 1:19-cv-00728-JMM Document 1-1 Filed 04/29/19 Page 13 of 46

ARMSTRONG INTERNATIONAL, INC. is a corporation incorporated under the
arta the State of Michigan, with its principal place of business In the State of
orida. ‘

ASSOCIATED RUBBER, INC. is a corporation incorporated under the laws of the
Commonweaith of Pennsylvania, with its principal place of business in the
Commonwealth of Pennsylvania.

ATWOCD & MORRILL. A DIVISION OF WEIR POWER & INDUSTRIAL is a
corporation Incorporated under the laws of the Commonwealth of Massachusetts,
with Its principal place of business in the Commonwealth of Massachusetts.

AURORA PUMP COMPANY is a ca pi incorporated under the laws of the
Soaks of North Carolina, with Its principal place of business In the State of North
arolina.

AVON PRODUCTS INC. is a corporation incorporated under the laws of the State
of New York, with its principal place of business in the State of New York,

BARRETT'S MINERALS INC. is a corporation incorporated under the laws of the
State of Montana, with its principal place of business in the Commonwealth of
Massachusetts.

BASF CATALYSTS LLC AS SUCCESSOR IN INTEREST TO EASTERN
MAGNESIA TALC CO. is a corporation incorporated under the laws of the State
of Delaware, with its principal place of business in the State of New Jersey.

BEHR PROCESS CORPORATION Is a corporation incorporated under the laws
a n Sine of California, with Its principal place of business in the State of
alifornia.

BELL AND GOSSETT COMPANY, NOW KNOWN AS ITT LLC, FORMERLY
KNOWN AS ITT CORPORATION is a corporation incorporated under the laws of
the Commonwealth of Pennsylvania, with its principal place of business in the
Commonwealth of Pennsylvania.

BENDIX CORP. is a corporation incorporated under the laws of the State of New
Jersey, with its principal place of business in the State of New Jersey.
 

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BIRD INC. is a corporation Incorporated under the laws of the Commonwealth of
Pennsylvania, with its principal place of business in the Commonwealth of
Massachusetts.

BORG-WARNER CORP. Is a corporation incorporated under the laws of the
State of Delaware, with Its principal place of business in the State of Miichigan.

CBS CORPORATION F/K/A VIACOM, INC., AS SUCCESSOR BY MERGER TO
CBS CORPORATION, F/K/A WESTINGHOUSE ELECTRIC CORPORATION Is
@ corporation incorporated under the laws of the State of Delaware, with its
principal place of business in the State of New York.

CERAMIC SUPPLY INC. is a corporation incorporated under the laws of the
Commonwealth of Pennsylvania, with its principal place of business in the
Cormmorweakh of Pennsylvania.

‘ CERTAINTEED CORPORATION is a corporation incorporated under the faws of
the State of Delaware, with its principal place of business in tha Commonwealth
of Pennsylvania.

CHARLES B. CHAYSTAL CO. ING is a corporation incorporated under the laws
Y ns State of New York, with its principal place of business in the State of New
ork,

CHATTEM, A SANOFI COMPANY, INDIVIDUALLY AND FOR GOLD BOLD AND
GOLD BOND ULTIMATE is a corporation incorporated under the laws of the
oi of Tennessee, with its principal place of business in the State of

ennessee.

CHAVANT, INC. is a corporation incorporated under the laws of the State of New
Jersey, with its principal place of business in the State of New Jersey.

COLORAMICS, LLC, FICTIITIOUSLY KNOWN AS MAYCO COLORS
CONVENIENCE PRODUCTS INC. is a corporation incorporated under the laws
of the State of Ohio, with its principal place of business in the State of Ohio,

COTY, INC. is a corporation incorporated under the laws of the State of New
York, with its principal place of business in the State of New York,
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COUNTRYSIDE HOME CENTER, INC. is a corporation incorporated under the
laws of the Commonwealth of Pennsylvania, with its principal place of business in
the Commonwealth of Pennsylvania.

CRANE COMPANY, INC. Is a corporation incorporated under the jaws of the
State of Delaware, with Its principal place of business in the State of Connecticut.

CRAYOLA, LLC is a corporation incorporated under the laws of the
Commonwealth of Pennsylvania, with its principal place of business In the
Commonwealth of Pennsylvania.

CREATIVE HOBBIES, INC. is a corporation incorporated under the laws of the
See ot New Jersey, with its principal place of business In the State of New
jersey.

CROWN CORK & SEAL COMPANY, INC. is a corporation incorporated under
the laws of the Commonwealth of Pennsylvania, with Its principal place of
business in the Commonwealth of Pennsylvania.

DAL-TILE CORPORATION, INDIVIDUALLY AND AS SUCCESSOR TO

AMERICAN OLEAN TILE COMPANY is a corporation incorporated under the

a of the State of Texas, with its principal place of business in the State of
@xas.

DANA CLASSIC FRAGRANCES Is a eerporeyan incorporated under the laws of
the State of New Jersey, with its principal place of business in the State of New
lersey.

DAP, INC is a corporation incorporated under the laws of the State of Maryland,
with its principal place of business in the Commonwealth of Pennsylvania.

DECKER'S KORNER is a corporation incorporated under the laws of the State of
California, with its principal place of business in the Commonwealth of
Pennsylvania.

DECO ART, INC. is a corporation incorporated under the laws of the State of
Ae ee arene Carre mre te event penne a oe cle onge

ee

Case 1:19-cv-00728-JMM Document 1-1 Filed 04/29/19 Page 16 of 46

Kentucky, with its principal place of business in the State of Kentucky.

DUNCAN ENTERPRISES is a corporation incorporated under the laws of the
Commonwenlin of Pennsylvania, with its principal place of business in the State
of California.

ECLECTIC PRODUCTS, INC. Is a corporation incorporated under the laws of the
State of Oregon, with its principal place of business in the State of Oregon.

EVENHEAT KILN, INC. is a corporation Incorporated under the laws of the State
of Michigan, with its principal place of business In the State of Miichigan.

FOSTER WHEELER, L.L.C., SURVIVOR TO A MERGER WITH FOSTER :
WHEELER CORPORATION, F/K/A FOSTER WHEELER CORPORATION is a
corporation incorporated under the laws of the State of Delaware, with its
principal place of business In the Commonwealth of Pennsylvania.

FREEPORT-MCMORAN INC. AS SUCCESSOR IN INTEREST TO CYPRUS
AMAX MINERALS COMPANY is a corporation incorporated under the laws of
the State of Arizona, with its principal place of business in the State of Arizona.

GARE, INC. is a corporation incorporated under the laws of the Commonwealth
of Massachusetts, with its principal place of business in the Commonwealth of
Massachusetts.

GENERAL ELECTRIC COMPANY is a corporation Incorporated under the laws
a the or. of Delaware, with its principal place of business in the State of
onnecticut.

GEORGIA PACIFIC LLC F/K/A GEORGIA PACIFIC CORPORATION is a
corporation Incorporated under the laws of the State of Georgia, with its principal
place of business in the State of Georgia.

HONEYWELL INTERNATIONAL, INC. F/K/A ALLIEDSIGNAL INC. F/K/A THE
BENDIX CORPORATION is a corporation incorporated under the laws of the
State of Delaware, with its principal place of business in the State of New York.
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IMERYS TALC AMERICA, INC. AND SUCCESSOR IN INTEREST TO
LUZENAC AMERICA INC. AND WINDSOR MINERALS fs a corporation
incorporated under the laws of the State of Delaware, with its principal place of
business in the State of California.

IMO INDUSTRIES, INC., FAK/A IMO DELAVAL, DELAVAL, INC. F/K/A
TRANSAMERICA DELAVAL, INC., F/K/A DELAVAL TURBINE, INC., DEVALCO
CORPORATION, AND AS SUCCESSOR TO WARREN PUMPS, ING, isa
corporation incorporated under the laws of the State of Delaware, with Its
principal place of business in the State of New Jersey.

tNGERSOLL-RAND COMPANY Is a corporation incorporated under the laws of
iti State of Delaware, with its principal place of business in the State of New
ersey.

JAFRA COSMETICS INTERNATIONAL is a corporation incorporated under the
or of ue State of California, with its principal place of business in the State of
alifornia.

JOANN STORES, LLC. is a corporation incorporated under the laws of the State
of Chio, with its principal place of business in the State of Ohio.

JOHNSON & JOHNSON is a corporation incorporated under the laws of the State
of New Jersey, with its principal place of business in the State of New Jersey.

KOBO PRODUCTS, INC Is a corporation menrpoe sie? under the laws of the
Sue of New Jersey, with its principal place of business in the State of New
lersey.

KOLMAR LABORATORIES, INC A/K/A KOLMAR LABS GROUP, INC. Isa
corporation incorporated under the laws of the State of Delaware, with its
principal place of business in the Commonwealth of Pennsylvania.

L&L KILN MANUFACTURING ING. is a corporation incorporated under the laws
of the Commonwealth of Pennsylvania, with its principal place of business in the
State of New Jersey.

LAGUNA CLAY CO., INDIVIDUALLY AND FOR MILLEA CLAY COMPANY isa
corporation Incorporated under the laws of the State of Delaware, with lis
principal place of business in the State of California.
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LAKESHORE LEARNING MATERIALS FICTICOUSLY KNOWN AS
LAKESHORE EQUIPMENT COMPANY Is a corporation incorporated under the
laws of the Commonwealth of Pennsylvania, with its principal place of business in
the State of California.

LENNOX INDUSTRIES, INC. Is a corporation incorporated under the laws of the
State of Delaware, with its principal place of business in the State of Texas.

METROPOLITAN LIFE INSURANCE COMPANY A/K/A METROPOLITAN
INSURANCE COMPANY Is a corporation incorporated under the laws of the
State of New York, with Its principal place of business in the State of New York.

MILWHITE INC. AS PARENT COMPANY OF WESTEX MINERALS CO. Is a
corporation incorporated under the laws of the State of Texas, with Its principal
place of business in the State of Texas.

MORNING STAR MOLDS is a corporation incorporated under the laws of the
State of California, with its principal place of business in the State of California.

NOVEON HILTON DAVIS INC, is a corporation incorporated under the laws of
the State of Ohio, with its principal place of business in the State of Ohio.

OLYMPIC KILNS is a corporation incorporated under the laws of the State of
Georgia, with ils principal place of business in the State of Georgia.

PARAGON INDUSTRIES, L.P. is a corporation Incorporated under the laws of
the Commonwealth of Pennsylvania, with its principal place of business in the
Commonwealth of Pennsylvania.

PFIZER INC. INDIVIDUALLY AND AS PARENT COMPANY OF MINERAL

TECHNOLOGIES CORP. is a corporation incorporated under the laws of the

Sie of Tennessee, with its principal place of business in the State of
ennessee.

PLAID ENTERPRISES, INC., INDIVIDUALLY AND FOR APPLE BARREL AND
AS SUCCESSOR TO DELTA CREATIVE, iNC. is a corporation incorporated
under the laws of the State of Georgia, with its principal place of business in the
State of Georgia.
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POLYFORM PRODUCTS COMPANY, INC. is a corporation incorporated under
ie ates of the State of Illinois, with its principal place of business in the State of
nois,

PPG ARCHITECTURAL FINISHES, INC.,AS SUCCESSOR-IN-INTEREST TO
AKZO NOBEL PAINTS LLC F/K/A THE GLIDDEN COMPANY AND AS
SUCCESSOR TO PITTSBURGH PAINTS is a corporation Incerporated under the
laws of the State of Delaware, with its principal place of business In the
Commonwealth of Pennsylvania.

PRESPERSE CORPORATION is a corporation incorporated under the laws of
the State of Delaware, with its principal place of business in the State of
elaware.

RESCO PRODUCTS INC. AS PARENT COMPANY TO PIEDMONT MINERALS
CO. INC. is a corporation incorporated under the laws of the Commonwealth of
Pennsylvania, with its principal place of business in the Commonwealth of
Pennsylvania.

RILEY POWER, INC., F/K/A BABCOCK BORSIG POWER, INC., F/K/A DB
RILEY, INC., FAC/A RILEY STOKER CORPORATION is a corporation
incorporated under the laws of the Commonwealth of Massachusetts, with iis
principal place of business in the Commonwealth of Massachusetts.

SARGENT ART INC. Is a corporation incorporated under the laws of the
Commonwealth of Pennsylvania, with its principal place of business in the
Commonwealth of Pennsylvania.

SEARS, ROEBUCK & CO. is a corporation incorporated under the laws of the
State of New York, with its principal place of business in the State of lilinols,

SEATTLE POTTERY SUPPLY, INC. is a corporation incorporated under the laws
7 ee of Washington, with its principal place of business in the State of
ashington.

SELEE CORPORATION, INDIVIDUALLY AND AS SUCCESSOR TO

ENGINEERED CERAMICS is a corporation incorporated under the laws of the

eae North Carolina, with its principal place of business in the State of North
arolina.

SENSIENT TECHNOLOGIES CORPORATION is a corporation incorporated
under the laws of the Commonwealth of Pennsylvania, with its principal place of
business in the Commonwealth of Pennsylvania.
Case 1:19-cv-00728-JMM Document 1-1 Filed 04/29/19 Page 20 of 46

SHISEIDO AMERICAS CORPORATION Isa cerporaion incorporated under the
rhe the State of Delaware, with its principal place of business In the State of
ew Jersey.

SHURTECH BRANDS, INDIVIDUALLY AND AS SUCCESSOR IN INTEREST
TO HENKEL CONSUMER ADHESIVES, INC. F/K/A MANCO TAPE ING. is a
corporation incorporated under the laws of the State of Ohio, with its principal
place of business in the State of Connecticut.

SIR RAMIC PORCELAIN, INC. A/K/A JEN-KEN KILNS is a corporation
incorporated under the laws of the State of Florida, with its principal place of
business in the State of Florida.

SKUTT CERAMIC PRODUCTS, INC. is a corporation incorporated under the
a“ of the State of Oregon, with its principal place of business in the State of
regen.

SOUTHERN TALC COMPANY Is a corporation incorporated under the laws of
re ome of North Carolina, with its principal place of business in the State of
eorgla.

STANDARD CERAMIC SUPPLY COMPANY is a corporation incorporated under
the laws of the Commonwealth of Pennsylvania, with its principal place of
business in the Commonwealth of Pennsylvania.

SUGAR CREEK INDUSTRIES, INC. INDIVIDUALLY AND FOR GOOD KILN Is a
corporation incorporated under the laws af the State of Indiana, with its principal
place of business in the State ol Indiana.

SUN CHEMICAL CORPORATION Is 4 corporation incorporated under the laws of
the State of Delaware, with its principal place of business in the Commonwealth
of Pennsylvania.

THE DOW CHEMICAL COMPANY is a eoporation incorporated under the laws
one State of Michigan, with its principal place of business in the State of
tichigan.

THE EDWARD ORTON JR. CERAMIC FOUNDATION is a corporation
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incorporated under the laws of the State of Ohio, with its principal place of
business in the State of Ohio.

THE HOLLAND MOLD SHOP is a corporation incorporated under the laws of the
State of Minnesota, with its principal place of business in the State of Ohio.

THE MICHAELS COMPANIES, INC. is a corporation incorporated under the laws
ot the State of Delaware, with its principal place of business in the State of
exas.

THE SHERWIN-WILLIAMS COMPANY INDIVIDUALLY AND AS SUCCESSOR
TO DUTCH BOY GROUP AND MINWAX COMPANY is a corporation
incorporated under the laws of the State of Ohio, with Its principal place of
business in the State of Ohio.

TRANE U.S., F/K/A AMERICAN STANDARD, INC., ITS DIV, IN OWN RIGHT is
a corporation incorporated under the laws of the State of Delaware, with its
principal place of business in the State of Wisconsin.

U.S. COSMETICS CORPORATION N/K/A MIYOSHI AMERICA, INC. isa
corporation incorporated under the laws of the State of Connecticut, with its
principal place of business in the State of Connecticut.

UNIMIN CORPORATION FKA UNIMIN TEXAS CO. LP FKA UNITED CLAYS OF
TEXAS Is a corporation incorporated under the laws of the State of Delaware,
with its principal place of business in the State of Connecticut.

UNIROYAL, INC., ALSO KNOWN AS UNIROYAL GOODRICH TIRE COMPANY
is a corporation incorporated under the laws of the State of Washington, with its
principal place of business in the State of Washington.

UTRECHT ART SUPPLIES jis a corporation incorporated under the laws of the
State of Illinois, with its principal place of business in the State of Illinois.

VAN AKEN INTERNATIONAL is a corporation incorporated under the laws of the
eee South Carolina, with its principal place of business in the State of South
arolina.
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VANDERBILT MINERALS, LLC F/K/A R.F. VANDERBILT CO., INC.AS
SUCCESSOR IN INTEREST TO GOUVERNEUR TALC CO. AND STANDARD
MINERALS CO., INC. is a corporation incorporated under the laws of the State of
Delaware, with its principal place of business in the State of Connecticut.

VERMONT TALC, INC. is a corporation incorporated under the laws of the State
of Vermont, with its principal placa of business in the State of Vermont.

WEAVER'S CERAMIC MOLD, INC. Is a corporation incorporated under the laws
of the Commonwealth of Pennsylvania, with Its principal place of business in the
Commonwealth of Pennsylvania.

WEIL-MCLAIN COMPANY, INC. is a corporation incorporated under the laws of
the Commonwealth of Massachusetts, with its principal place of business in the
Commonwealth of Massachusetts.

WHITAKER CLARK & DANIELS, INC. is a corporation Incorporated under the
laws of the State of New Jersey, with its principal place of business in the State
of New Jersey.

3. The plaintiff worked as a self employed artist at varlous locations,
including but not limited to Quakertown, PA from the 1950's through

up until the time of her untimely death.

4. During the period of time set forth hereinabove and after at other jobsites, the
Plaintiff, Loretta Belac as set forth above inctuding but not limited to
those jobsites of her late husband Ivan Belac, and thereafter, was
exposed to and did inhale asbestos dust and asbestos fibers, which
caused the conditions as hereinafter set forth, resulting in the Loretta
Belac's impairment and Death.

5. Plaintiff Decedent Loretta Belac suffered, underwent treatment for and

passed away from Mesothelioma which caused her suffering and death.
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6. The Piaintiff's Mesothelioma was diagnosed on August 11, 2015. Plaintiff was
unaware of and could not discover the nature and cause of said

Mesothelioma before August 11, 2015.

COUNT |
NEGLIGENCE

7. The Plaintiff incorporates the aforementioned paragraphs by reference as
though fully set forth herein.

8. The condition of Plaintiff Is a direct and proximate result of the negligence of
the defendants, both jointly and severally, in that they produced,
supplied, and/or sold, and/or distriputed,, and/or used, and/or distributed,
and/or incorporated as a component part or ingredient, and/or specified
and/or removed products containing asbestos and other dangerous
ingredients including silica, which products defendants knew, or in the
exercise of reasonable care, should have known, were inherently,
excessively, and ultra-hazardously dangerous to the Plaintiff.

9. The defendants mined and/or milled and/or manufactured and/or fabricated
and/or supplied and/or sold products and/or included as a component
part or ingredient, which they knew were defective and/or unreasonably
dangerous to the user or consumer, such as plaintiff, and acted in such a
manner which was willful, wanton, gross and in total disregard for the
health and safety of the user or consumer, i.e., the Plaintiff.

10. Defendants, individually, together and/or as a group, have possessed since
early 1920's, medical and scientific data which indicated that asbestos-
containing insulation and other materials were hazardous to health.
Prompted by pecuniary motives, the defendants, individually, together
and/or as a group, willfully and wantonly ignored and/or failed to act upon

said medical and scientific data. Rather, they conspired together to
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11,

deceive the public in several aspects: by controlling industry-supported
research in a manner inconsistent with the health and safety interest of
users and consumers, by successfully tainting reports of medical and
scientific data appearing in industry and medical literature, by
suppressing the dissemination of certain medical and scientific
information relating to the harmful effects of exposure to said products,
and by prohibiting the publication of certain scientific and medical
articles. Such conspiratorial activities deprived the users, artists, by-
standers and other foresee-ably exposed persons, mechanics, laborers
and installers of defendants said products of the opportunity to determine
whether or not they would expose themselves to the unreasonably
dangerous asbestos products of said defendants. As a direct and
proximate result of the aforesaid actions, the plaintiff was exposed as

alleged and contracted the diseases set forth herein.

As a direct and proximate result of the actions of the defendants as aforesaid,

and inhalation of asbestos fibers from defendant's products, the Plaintiff-
Decedent Loretta Belac suffered severe, serious injuries and Death.
Plaintiff Decedent Loretta Belac suffered and Died from mesothelioma, a
fatal, incurable asbestos-caused, malignant disease with pronounced

severe pain, suffering and discomfort.

WHEREFORE, Plaintiff has been injured and claims damages of the defendants,

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jointly and severally, In an amount in excess of Thirty Five Thousand
($35,000.00) Dollars, which is in excess of the arbitration jurisdiction of
the Court of Common Pleas of Dauphin County, Pennsylvania.
COUNT Ii
STRICT PRODUCTS LIABILITY

The Plaintiff incorporates the aforementioned paragraphs by reference as

though fully set forth herein.

The defendant corporations (hereinafter defendant "sellers" and
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13. | The defendant corporations (hereinafter defendant "sellers" and
"contractors") or their predecessors in interest, at all times relevant,
engaged in one or more of the following activities involving asbestos
and/or silica and/or talc and/or pigment and/or other ingredient and/or
component part and other ingredients in their materials: the mining,
milling, manufacturing, distributing, supplying, selling and/or using and/or
recommending, and/or instafling and/or removing asbestos materials and
other dangerous ingredients and products.

14. At all times pertinent hereto, the defendants acted through their duly
authorized agents, customers, users, representatives, vendors,
independent contractors, salespersons, servants and employees, who
were then and there acting in the course and scope of their employment
and in furtherance of the business of said defendants.

15. | The defendants below were engaged in the distribution, supply, sale,
contracting, installation, mining and/or milling, fabrication, manufacture,
incorporation, recommendation and/or suggestion and/or removal and/or
specification of asbestos-containing products to which the plaintiff was

exposed:

A.LI, ACQUISITIONS, LLC F/K/A A.L.L ACQUISITION CORP. F/K/A ALTHONE
INDUSTRIES, INC. F/K/A HOLLAND FURNACE COMPANY

A.O. SMITH GORPORATION IN ITS OWN RIGHT AND AS SUGCESSOR-IN-INTEREST
TO THE CLARK CONTROLLER COMPANY AND A.C. SMITH CORPORATION

ABB, INC.

AFTOSA

AIR & LIQUID SYSTEMS CORPORATION AS SUCCESSOR BY MERGER TO BUFFALO
PUMPS, INC.

AMERICAN ART CLAY CO., INC. .
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AMERICAN TALC COMPANY

ANCHOR CERAMIC MOLD CO.

ARMSTRONG INTERNATIONAL, INC.

ASSOCIATED RUBBER, INC.

ATWOOD & MORRILL. A DIVISION OF WEIR POWER & INDUSTRIAL

AURORA PUMP COMPANY

AVON PRODUCTS INC.

BARRETT’S MINERALS INC.

BASF CATALYSTS LLC AS SUCCESSOR IN INTEREST TO EASTERN MAGNESIA

TALC CO.

BEHR PROCESS CORPORATION

BELL AND GOSSETT COMPANY, NOW KNOWN AS ITT LLC, FORMERLY KNOWN AS

ITT CORPORATION

BENDIX CORP.

BIRD INC.

BORG-WARNER CORP.

CBS CORPORATION F/K/A VIACOM, ING., AS SUCCESSOR BY MERGER TO CBS

CORPORATION, F/K/A WESTINGHOUSE ELECTRIC CORPORATION

CERAMIC SUPPLY INC.

CERTAINTEED CORPORATION

CHARLES B. CHRYSTAL CO. INC
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GCHATTEM, A SANOFI COMPANY, INDIVIDUALLY AND FOR GOLD BOLD AND GOLO
BOND ULTIMATE

CHAVANT, ING.

Borne LLC, FICTIITIOUSLY KNOWN AS MAYCO COLORS CONVENIENCE
COTY, INC.

COUNTRYSIDE HOME CENTER, INC.

CRANE COMPANY, INC.

GRAYOLA, LLC

CREATIVE HOBBIES, INC.

CROWN CORK & SEAL COMPANY, INC.

OTE COMeRu S INDIVIDUALLY AND AS SUCCESSOR TO AMERICAN
DANA CLASSIC FRAGRANCES

DAP, INC

DECKEA’S KORNER

DECO ART, INC.

DUNCAN ENTERPRISES

ECLECTIC PRODUCTS, INC.

EVENHEAT KILN, INC.

FOSTER WHEELER, L.L.C., SURVIVOR TO A MERGER WITH FOSTER WHEELEA
CORPORATION, F/K/A FOSTER WHEELER CORPORATION
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FREEPORT-MCMORAN INC. AS SUCCESSOR IN INTEREST TO CYPRUS AMAX
MINERALS COMPANY

GARE, INC.

GENERAL ELECTRIC COMPANY

GEORGIA PACIFIC LLC F/K/A GEORGIA PACIFIC CORPORATION

HONEYWELL INTERNATIONAL, INC. FAC/A ALLIEDSIGNAL INC. F/K/A THE BENDIX

CORPORATION

IMERYS TALC AMERICA, INC. AND SUCCESSOR IN INTEREST TO LUZENAC
AMERICA INC, AND WINDSOR MINERALS

IMO JNDUSTRIES, INC., F/K/A IMO DELAVAL, DELAVAL, INC. F/K/A TRANSAMERICA
DELAVAL, INC.. FAX/A DELAVAL TURBINE, INC., DEVALCO CORPORATION, AND AS
SUCCESSOR TO WARREN PUMPS, INC.

INGERSOLL-RAND COMPANY

JAFRA COSMETICS INTERNATIONAL

JOANN STORES, LLC.

JOHNSON & JOHNSON

KOBO PRODUCTS, INC

KOLMAR LABORATORIES, INC A/K/A KOLMAR LABS GROUP, INC.

L&L KILN MANUFACTURING INC.

LAGUNA CLAY CO., INDIVIDUALLY AND FOR MILLER CLAY COMPANY
Ecos chal Sea MATERIALS FICTICOUSLY KNOWN AS LAKESHORE
LENNOX INDUSTRIES, INC.

METROPOLITAN LIFE INSURANCE COMPANY A/K/A METROPOLITAN INSURANCE

COMPANY

MILWHITE INC. AS PARENT COMPANY OF WESTEX MINERALS CO.
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MORNING STAR MOLDS

NOVEON HILTON DAVIS INC.

OLYMPIC KILNS

PARAGON INDUSTRIES, L.P.

PFIZER INC. INDIVIDUALLY AND AS PARENT COMPANY OF MINERAL

TECHNOLOGIES CORP.

PLAID ENTERPRISES, INC., INDIVIDUALLY AND FOR APPLE BARREL AND AS
SUCCESSOR TO DELTA CREATIVE, INC.

POLYFORM PRODUCTS COMPANY, INC.

PPG ARCHITECTURAL FINISHES, INC.,AS SUCCESSOR-IN-INTEREST TO AKZO
NOBEL PAINTS LLC F/K/A THE GLIDDEN COMPANY AND AS SUCCESSOR TO
PITTSBURGH PAINTS

PRESPERSE CORPORATION

RESCO PRODUCTS INC. AS PARENT COMPANY TO PIEDMONT MINERALS CO. INC.
RILEY POWER, INC., F/K/A BABCOCK BORSIG POWER, INC., F/K/A DB RILEY, INC.,
FIK/A RILEY STOKER CORPORATION

SARGENT ART INC.

SEARS, ROEBUCK & CO.

SEATTLE POTTERY SUPPLY, INC.

SELEE CORPORATION, INDIVIDUALLY AND AS SUCCESSOR TO ENGINEERED
CERAMICS

SENSIENT TECHNOLOGIES CORPORATION

SHISEIDO AMERICAS CORPORATION

SHURTECH BRANDS, INDIVIDUALLY AND AS SUCCESSOR IN INTEREST TO HENKEL
CONSUMER ADHESIVES, INC. F/K/A MANCO TAPE INC.
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SIR RAMIC PORCELAIN, INC. A/K/A JEN-KEN KILNS

SKUTT CERAMIC PRODUCTS, INC.

SOUTHERN TALC COMPANY

STANDARD CERAMIC SUPPLY COMPANY

SUGAR CREEK INDUSTRIES, INC. INDIVIDUALLY AND FOR GOOD KILN

SUN CHEMICAL CORPORATION

THE DOW CHEMICAL COMPANY

THE EDWARD ORTON JR. CERAMIC FOUNDATION

THE HOLLAND MOLD SHOP

THE MICHAELS COMPANIES, INC.

THE SHERWIN-WILLIAMS COMPANY INDIVIDUALLY AND AS SUCCESSOR TO

DUTCH BOY GROUP AND MINWAX COMPANY

TRANE U.S., F/K/A AMERICAN STANDARD, INC., ITS DIV. IN OWN RIGHT

U.S. COSMETICS CORPORATION N/K/A MIYOSHI AMERICA, INC.

UNIMIN CORPORATION FKA UNIMIN TEXAS CO. LP FKA UNITED CLAYS OF TEXAS

UNIROYAL, INC., ALGO KNOWN AS UNIROYAL GOODRICH TIRE COMPANY

UTRECHT ART SUPPLIES

VAN AKEN INTERNATIONAL

VANDERBILT MINERALS, LLC F/K/A R.T. VANDERBILT CO., INC.AS SUCCESSOR IN
INTEREST TO GOUVERNEUR TALC CO. AND STANDARD MINERALS CO., INC.
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VERMONT TALC, INC.
WEAVER'S CERAMIC MOLD, INC.
WEIL-MCLAIN COMPANY, INC.

WHITAKER CLARK & DANIELS, INC.

As a direct and proximate result of the inhalation of the fibers and dusts
contained in the products of defendants, and/or their predecessors-in-
interest, the Plaintiff contracted the diseases set forth herein.

The condition of the Plaintiff is a direct and proximate result of the
defendants' manufacture, and/or production, mining and/or milling,
fabrication, incorporation, recommendation and/or suggestion and/or
distribution, and/or supply and/or sale of and/or use of products
containing asbestos and other dangerous ingredients which were
inherently, excessively, and ultra-hazardously dangerous to Plaintiff
and/or tacked elements necessary to make them safe for their intended
uses.

Plaintiff's disease as set forth herein with associated complications was
directly and proximately caused by the acts of the defendants acting
through their agents, servants and employees, customers, users,
representatives, vendors, independent contractors, salespersons, and
the defendants are liable therefore, jointly and severally, to the Plaintiff
for their breach of duty imposed by Section 402A of the Restatement
(Second) of Torts.

This is a tort action brought under the laws of the State of Pennsylvania
and under the commen law of the Commonwealth of Pennsylvania. The
plaintiff herein bring this action based entirely upon the common and

statutory laws of the State of Pennsylvania, and the Plaintiffs does not
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rely upon any federal constitutional provision, federal statute, or federal
law in bringing this action, and do not seek relief in this Complaint
under any federal constitutional provision, statute or law.

To the extent that any defendant will contend that the Plaintiff is
seeking relief in this Complaint under a federal constitutional provision,
statute or law, the plaintiffs expressly deny said contentions. The
Federal Courts lack subject matter jurisdiction over this action, as there
is no federal question and incomplete diversity due to the presence of
Pennsylvania Defendants. Removal is improper. Every claim arising
under the Constitution, treaties, or laws of the United States is
expressly disclaimed (including any claim arising from any act or
omission on a federal enclave, or of any officer of the U.S. or any
agency or person acting under him occurring under color of such
office). No claim of admiralty or maritime law is raised. Plaintiff did not
sue a foreign state or agency. Accordingly, since Plaintiffs has waived
all potential federal causes of action, there is no federal question
jurisdiction under 28 US .C. §1331.

The Plaintiff further alleges that complete diversity of citizenship
between the parties does not exist. Furthermore, the citizenship and/or
residency of the resident defendants cannot be disregarded for
purposes of creating diversity jurisdiction under 28 U.S.C. §1332, as
plaintiff have stated valid Pennsylvania causes of action agalnst local
Pennsylvania manufacturers and/or suppliers in this Complaint, and
that these local Pennsylvania manufactures and/or suppliers are
neither nominal nor fraudulently joined Defendants with respect to the
claims brought against them by the Plaintiff herein.

The Plaintiff disclaims any cause of action or recovery for any injuries

caused by any exposure to asbestos dust that occurred in a federal
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23.

enclave. Plaintiffs also disclaim any cause of action or recovery for any

injuries resulting from any exposure to asbestos dust caused by any

acts or omissions of a party committed at the direction of an officer of
the United States Government.

For Plaintiff's injuries sustained as a direct and proximate result of
exposure to the defendants' defective products as aforesaid, the
Plaintiff demands the following relief:

a. Compensation for great pain, suffering and inconvenience;

b. Compensation for Plaintiff-Decedent's Loretta Belac limitation and
preclusion from performing normal activities;

c. Compensation for great emotional distress;

d. Compensation for loss of wages, income and/or earnings

d. Compensation for Ptaintiff-Decedent's Loretta Belac loss of her
general health, strength and vitality;

e. Compensation for medicine, medical care, nursing, hospital and
surgical attention, medical appliances, household care, nd other
relevant out of pocket cost;

f. Punitive and exemplary damages;

g. Any further relief found just and appropriate by the Court.

WHEREFORE, Plaintiff has been damaged and claims damages of the

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defendants, jointly and severally, in an amount in excess of Thirty Five
Thousand ($35,000.00) Dollars, which is in excess of the arbitration

jurisdiction of the Court of Common Pleas of Dauphin, Pennsylvania.

COUNT II!
AGAINST METROPOLITAN LIFE
Plaintiff incorporates the aforementioned paragraphs by reference

hereto as fully set forth herein.
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In or about the year 1930, and at various times prior and subsequent
thereto, up to and including the present time, defendant, Metropolitan
Life Insurance Company undertook and assumed a duty to provide the
asbestos industry, the sclentific community and company users of
asbestos with information, inspections, instructions, supervision,
recommendations, assistance, notices, reports, methods, findings,
cautions, warnings, advice, designs, equipment, safequards, guidance
and services to properly, adequately and reasonably provide safe
working conditions, all allegedly to preserve and protect the life, health
and safety of employees exposed to asbestos, including plaintiffs and
their co-workers, and particularly to protect them from the dangerous
and defective properties of asbestos, asbestos products and
compounds and/or other dangerous substances at or about the
workplace.

Plaintiff avers that various employers and their employees, including
plaintiffs and scientists and others similarly situated, were dependent
upon the undertakings of Metropolitan to preserve and protect the life,
health and safety of individuals, including plaintiffs, by not assisting the
said companies in selling dangerous products.

Metropolitan, by its active and passive negligence, failed to exercise the
standard of care and skill it was obliged to exercise by reason of its
aforesaid undertakings and assumption of duty, thereby causing,
creating or permitting dangerous conditions and exposure to dangerous
and defective substances; and thereby failing to properly safeguard
plaintiffs and all others similarly situated.

As a result of the aforesaid negligence of the defendant Metropolitan,

Plaintiff was injured.

WHEREFORE, Plaintiff has been damaged and claims damages of the
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defendants, jointly and severally, in an amount in excess of Thirty Five
Thousand ($35,000.00) Dollars, which is in excess of the arbitration
jurisdiction of the Court of Common Pleas of Dauphin County,
Pennsylvania.
COUNT IV

AGAINST METROPOLITAN LIFE
Plaintiff incorporates the aforementioned paragraphs by reference
hereto as fully set forth herein.
For a number of years, Metropolitan provided insurance coverage for
various manufacturers of asbestos-containing products.
For a number of years, Dr. A.J. Lanza served as assistant medical
director of Metropolitan.
At all times relevant, the activities of Dr. Lanza hereinafter described
were undertaken as a servant, agent or employee of Metropolitan.
(a) Beginning in approximately 1934, Metropolitan Life Insurance
Company and certain asbestos producers and manufacturers including
Johns-Manville Corporation and Raybestos Manhattan, through their
agents, Vandiver Brown, attorney J.C. Hobart, Sumner Simpson, and J.
Rohrbach, suggested to Dr. Anthony Lanza, as agent of Metropolitan
Life Insurance Company, that Lanza publish a study on asbestos in
which Lanza would affirmatively misrepresent material facts about
asbestos exposure and concerning the seriousness of the disease
processes, asbestosis and related diseases. This was accomplished
through intentional deletion of Lanza’s feeling of asbestosis as "fatal"
and through other selective editing that affirmatively misrepresented
asbestos as causing diseases less serious than they really were known
to be. As a result, Lanza's study was published in the medical literature

in this misleading fashion in 1935. This fraudulent misrepresentation
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and fraudulent nondisclosure was motivated in part by a desire to
influence proposed legislation to regulate asbestos exposure and to
provide a defense in disputes involving Metropolitan as insurer. In
1936, American Brake Block Corporation, Asbestos Manufacturing
Company, Gastket Corporation, Johns-Manville Corporation, Keasbey
& Mattison Company, Raybestos-Manhattan, Russell Manufacturing,
Union Asbestos and Rubber Company, and United Gypsum Company,
entered into an agreement with the Saranac Laboratories. Under this
agreement, these companies acquired the power to decide what
information Saranac Laboratories could publish about asbestos disease
and could also control in what form such publications were to occur.
This agreement gave these companies power to affirmatively
misrepresent the results of the work at Saranac, and also gave these
conspirators power to suppress material facts included in any study.
(b) On numerous occasions thereafter, these companies together with
Metropolitan, exercised their power to prevent Saranac scientists from
disclosing material scientific data, resulting in numerous misstatements
of fact being made at scientific meetings.

(c) On November 11, 1948, representatives of the following companies
met at the headquarters of Johns-Manville Corporation: American
Brake Block Division of American Brake and Shoe Foundry, Gasket
Corporation, Keasbey & Viattison Company, Raybestos-Manhattan,
Inc., Thermoid Company, Union Asbestos and Rubber Company,
United States Gypsum Company and Metropolitan. U.S. Gypsum did
not send a representative to the meeting, but instead authorized
Vandiver Brown of Johns-Manville to represent its interest at the
meeting and to take action on its behalf

(d) At this November 11, 1948 meeting, these companies and
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Metropolitan decided to exert thelr influence to materially alter and
misrepresent material facts about the substance of research previously
started by Dr. Leroy Gardner at the Saranac Laboratories. Dr.
Gardner's research involved the carcinogenicity of asbestos in mice
and also included an evaluation of the health effects of asbestos on
humans with a critical review of the then existing standards of dust
exposure for asbestos and asbestos products.

(e) At this meeting, these companies and Metropolitan and
subsequently their agent, Dr. Vorwald, intentionally and affirmatively
determined that Dr. Gardner's work should be edited to delete material
facts about the cancer causing propensity of asbestos and the health
effects of asbestos on humans and to delete the critique of the dust
standards. This was published, as altered, in the scientific literature.
These companies and Metropolitan thereby fraudulently
misrepresented the risks of asbestos exposure to the public, in general,
scientists, and persons exposed to asbestos such as the plaintiffs.

(f) As a direct result of the actions as described above, Dr. Gardner's
edited work was published in the Journal of Industrial Hygiene, AMA
Archives of Industrial Hygiene and Occupational Health in 1951 ina
form that stressed those portions of Dr. Gardner's work that
Metropolitan wished stressed, but which omitted references to human
asbestosis.and cancer, thereby fraudulently and affirmatively
misrepresenting the extent of risks. Metropolitan and the companies it
joined with affirmatively and deliberately disseminated this misleading
publication.

(g) Such action constituted a material affirmative misrepresentation of
material facts involving Dr. Gardner's work and resulted In creating an
appearance that inhalation of asbestos was less of a health problem

than Dr. Gardner's unedited work indicated.
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than Dr. Gardner's unedited work indicated.

(h} In 1955, Johns-Manville, for itself and on behalf of Metropolitan,
through their agent Kenneth Smith, caused to be published in the AMA
Archives of Industrial Health, an article entitled "Pulmonary Disability In
Asbestos Workers". This published study materially altered the results
of an earlier study in 1949 concerning the same set of workers. This
alteration of Dr. Smith's study constituted a fraudulent and material
representation about the extent of the risk associated with asbestos
inhalation.

(i) In 1955, the National Cancer Institute held a meeting at which Johns-
Manville, individually and as an agent for Metropolitan, and A. Vorwald,
as their agent, affirmatively misrepresented that there were no existing
animal studies concerning the relationship between asbestos exposure
and cancer, when, in fact, Metropolitan was in secret possession of
several studies which demonstrated that positive evidence did exist.

(j) Metropolitan approved and ratified and furthered the previous acts of
Johns-Manville, Raybestos Manhattan, and AJ Lanza.

The acts of Metropolitan as described above, constitute a fraudulent
concealment and/or a fraudulent misrepresentation which proximately
caused injury to the plaintiffs in the following manner:

(a) Metropolitan intended the publication of false and misleading reports
and/or the nondisclosure of documented reports of health hazards of
asbestos, in order to:

(i) Maintain a favorable atmosphere for the continued sale and
distribution of asbestos and asbestos-related products;

(ii) Assist in the continued pecuniary gain through the control and
reduction of claims;

(iii) Influence proposed legislation to regulate asbestos exposure;
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(iv) Provide a defense in jawsuits brought for injury resulting from
asbestos disease.

(b) Metropolitan intended reliance upon the published reports regarding
the safety of asbestos and asbestos-related products.

(c) Plaintiff-Decedent’s Loretta Belac suffered injury as a direct and
proximate result of the acts alleged herein.

Metropolitan has, as previously stated, altered, influenced, and created
significant portions of medical literature which are false and misleading
statements concerning the dangers of asbestos exposure and disease.
In so doing, Metropolitan, and its aforesaid agents, provided a body of
medical literature which, when relied upon by persons investigating
such literature, would have lead to a false impression of the dangers of
asbestos exposure. Additionally, the publication of such literature acted
to inhibit the development of the literature and effectively delayed the
dissemination of accurate knowledge of the dangers. Metropolitan
owed a duty to the plaintiffs, and the public as a whole, when
contributing to the medical literature to do so in gocd faith and with the
reasonable care expected of any professional contributing to such
literature; Metropolitan's failure to do so is willful and wanton
negligence and a separate intentional tort creating a duty to
compensate the plaintiffs for injuries sustained as a proximate
contributing result of the actions of Metropolitan Life Insurance
Company.

As a direct and proximately result of the fraudulent concealment and/or
fraudulent representation by Metropolitan and its agents, the Plaintiff
suffered the diseases, injuries and damages set forth in the foregoing

paragraphs.

WHEREFORE, Plaintiff has been damaged and claims damages of the
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defendants, jointly and severally, in an amount in excess of Thirty Five
Thousand ($35,000.00) Dollars, which is in excess of the arbitration
jurisdiction of the Court of Common Pleas of Dauphin County,
Pennsylvania.
COUNT V

AIDING AND ABETTING AGAINST METROPOLITAN LIFE
The Plaintiff incorporates the aforementioned paragraphs by reference
hereto as fully set forth herein.
Defendant, Metropolitan Life Insurance Company, individually and in
concert with American Brake Block Corporation, Asbestos
Manufacturing Company, Gasket Corporation, Johns-Manville
Corporation, Keasbey & Mattison Company, Raybestos-Manhattan,
Russell Manufacturing, Union Asbestos and Rubber Company, United
Gypsum Company, Thermoid Company and others knowlngly agreed
and conspired among themselves to engage in a course of conduct that
was reasonably likely to result in injury to plaintiff.
Defendant, Metropolitan Life Insurance Company, knew or should have
known that the perversion of the scientific and medical literature as
aforesaid would cause the harmful effects of asbestos exposure and
would cause Plaintiff injury.
Defendant, Metropolitan Life Insurance Company, gave substantial
assistance and/or encouragement to the conspirators and this aided
and abetted their sale of asbestos products in a defective and
dangerous condition and their reduction and control of claims against
them.
The actions of Metropolitan Life Insurance Company make it liable to
the Plaintiff pursuant to Section 876 of the Restatement of Torts

(Second) since Metropolitan Life Insurance Company has acted in
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41.

concert with others to cause harm to the Plaintiff.

As a direct and proximate result of the actions of defendant,
Metropolitan Life Insurance Company, plaintiff suffered and will
continue to suffer serious bodily injury; endured and will continue to
endure great pain and suffering and mental anguish; Incurred and will
continue to incur medical expenses; lost earnings and earning capacity;

and was otherwise damaged.

WHEREFORE, plaintiff has been damaged and claims damages of the

defendants, jointly and severally, in an amount in excess of Thirty Five
Thousand ($35,000,00) Dollars, which is in excess of the arbitration
jurisdiction of the Court of Common Pleas of Dauphin County,

Pennsylvania
COUNT VI

MISREPRESENTATION AGAINST METROPOLITAN LIFE INSURANCE

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COMPANY
Plaintiff incorporates the aforementioned paragraphs by reference

hereto as fully set forth herein.

‘ The actions of defendant Metropolitan Life Insurance Company as

described above constituted conscious misrepresentation involving risk
of physical harm and/or negligent misrepresentation involving risk of
physical harm.

Metropolitan Life Insurance Company is liable to plaintiffs for their injury
pursuant to Section 310 and 311 of the Restatement of Torts (Second).
As a direct and proximate result of the actions of defendant,
Metropolitan Life Insurance Company, plaintiff suffered and will
continue to suffer serious bodily injury; endured and will continue to
endure great pain and suffering and mental anguish; incurred and will

continue to incur medical expenses; lost earnings and earning capacity;
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and was otherwise damaged.

WHEREFORE, Plaintiff has been damaged and claims damages of the

46.

defendants, jointly and severally, in an amount in excess of Thirty Five
Thousand ($35,000.00) Dollars, which is in excess of the arbitration
jurisdiction of the Court of Common Pleas of Dauphin County,
Pennsylvania.
COUNT VII
WRONGFUL DEATH
Plaintiff incorporates the aforementioned paragraphs by reference

hereto as fully set forth herein.

47. Loretta Belac died as a result of the injuries averred above and Faith

Belac Cope, Administratrix of the Estate of Loretta Belac, on behalf of
the persons entitled by taw to recover damages, Is therefore seeking
damages for wrongful death in addition to damages for injuries

sustained during the decedent's lifetime.

48. Plaintiff brings an action in wrongful death on behalf of the persons

entitled by law to recover damages by reason of the death of the
decedent: the pain and suffering the decedent underwent prior to his
death, loss of earning power, the medical expenses, funeral expenses
and the loss of services and society of the decedent and such other

items of recover as may be due by virtue of the Wrongful Death Act.

WHEREFORE, Plaintiff has been damaged and claims damages of the

defendants, jointly and severally, in an amount in excess of Thirty Five
Thousand ($35,000.00) Dollars, which is in excess of the arbitration
jurisdiction of the Court of Common Pleas of Dauphin County,
Pennsylvania.

COUNT IX

FAITH BELAC COPE, ADMINISTRATRIX OF THE ESTATE OF LORETTA
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BELAC COUNT AGAINST FORMER EMPLOYERS OF IVAN BELAC,
DECEASED

The Plaintiff incorporates the aforementioned paragraphs by reference
hereto as fully set forth herein.

The injuries and damages suffered by Loretta Belac, Deceased, were
caused by and were the direct and proximate result of the deliberate

intent of the following defendant employers of Ivan Belac, Deceased:

ASSOCIATED RUBBER, INC.

Throughout his work career, lvan Belac, Deceased was exposed to
unsafe working conditions in his workplace which presented a high
degree of risk and a strong probability of serious injury and/or death.

The following defendants:

ASSOCIATED RUBBER, INC.

by and through its employees, permitted Ivan Belac, Deceased to
become exposed to airborne asbestos fibers and to inhale said fibers
throughout his career with them when aforementioned Plaintiff's
employers had actual knowledge that the inhalation of airborne
asbestos fibers could cause the behavior of aforementioned employers
was wanton, willful and reckless.

The following defendants:

ASSOCIATED RUBBER, INC.

had actual and subjective realization and appreciation of the existence

of the aforementioned unsafe working conditions and also had actual
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of the aforementioned unsafe working conditions and also had actual
and subjective realization and appreciation that there was a high

degree of risk and strong probability that serious injury or death could
occur as a result of such specific unsafe working conditions.

Such specific unsafe working conditions, as alleged, were in violation of
Pennsylvania safety statutes, rules, regulations and commonly
accepted and well-known safety standards. The following defendants
exposed their employee, Ivan Belac, Deceased and thelr employees
families the aforementioned unsafe working conditions Intentionally and
in a willful, wanton and reckless disregard for his safety and the safety

of his family:

ASSOCIATED RUBBER, INC.

The following defendants:

ASSOCIATED RUBBER, INC.

owed the Plaintiff-Decedent a duty to make inspections and remediate
all unsafe working conditions at work sites where they employed the
lvan Belac, Deceased, in Pennsylvania and elsewhere.

Plaintiff Loretta Belac, Deceased, suffered severe personal Injury as a
direct and proximate result of the intentional, willful, wanton and

reckless conduct of the following defendants:

ASSOCIATED RUBBER, INC.

WHEREFORE, plaintiff has been damaged and claims damages of the

defendants, jointly and severally, in an amount in excess of Thirty Five
 

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Thousand ($35,000.00) Doliars, which is in excess of the arbitration
jurisdiction of the Court of Common Pleas of Dauphin County,

Pennsylvania.

JURY TRIAL DEMANDED

Respectfully Submitted:
Counsel for Plaintiff

Law Offices of Lee Davis, Esquire,

  
   
   

 

 

J

ee WW Bavis, Esquire GPA ID ¥7420)
b239 Butler Strebt, STE 201
Pittsburgh, PA 15201

(412) 781-0525

  
 

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VERIFICATION

|, Faith Betac Cope, Administratrix of the Estate of Loretta Belac, hereby certify that the
statements set forth in the foregoing Complaint are true and correct to the best of our

knowledge, Information and belief. The factual matters set forth therein are based upon

information which has been furnished to counsel or which has been gathered by

counsel as it pertains to this lawsuit; that the language contained in the foregoing is that
of counsel and not the undersigned; and, that to the extent that the contents of same is
that of counsel the undersigned has relied upon counsel in making this affidavit.

| understand that this Verliflcation Is made subject to the penalties of 18 Pa.C.S.A,
§4904 relating to unsworn fabrication to authorities, which provides that if i knowingly

make false averments, | may be Subject to criminal penalties.

f Belac Cope, fee aoe of the Estate of Loretta Belac,

Date: 3.22.}7)  _°

 
